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                        California; Harry E. Hagen, as Treasurer-Tax
                    8   Collector of the County of Santa Barbara,
                        California; and Santa Barbara County Air
                    9   Pollution Control District
                  10
                                                            UNITED STATES BANKRUPTCY COURT
                  11                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                SANTA BARBARA DIVISION
                  12
                  13    In re:                                                       Case No.: 9:19-bk-11573-MB
                  14
                        HVI Cat Canyon, Inc.,                                        Chapter 11
                  15
                                                   Debtor.                           SANTA BARBARA COUNTY AIR
                  16
                                                                                     POLLUTION CONTROL
                  17                                                                 DISTRICT, COUNTY OF SANTA
                                                                                     BARBARA, AND HARRY E.
                  18
                                                                                     HAGEN, TREASURER-TAX
                  19                                                                 COLLECTORS’ SUPPLEMENTAL
                  20
                                                                                     RESPONSE TO DEBTOR’S
                                                                                     MOTIONS REGARDING USE OF
                  21                                                                 CASH COLLATERAL
                  22
                                                                                     (No Hearing Required Unless
                                                                                     Requested)
                  23
                  24                                                                 Crtm:    303
                                                                                     Judge:   Hon. Martin R. Barash
                  25
                  26
                  27
                  28

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                    1   TO THE HONORABLE MARTIN R. BARASH, UNITED STATES
                    2
                        BANKRUPTCY JUDGE, AND ALL INTERESTED PARTIES:
                    3
                    4                The Santa Barbara County Air Pollution Control District, the County of Santa

                    5   Barbara, California, and Harry E. Hagen, Treasurer-Tax Collector of the County of
                    6
                        Santa Barbara1 (“S.B. Parties”), supplement their responses to the debtor’s Motion
                    7
                    8   for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362 and 363

                    9   Approving Use of Cash Collateral, Providing Adequate Protection and Setting Final
                  10
                        Hearing Pursuant to Bankruptcy Rule 4001 [Dkt. 11] and debtor’s Motion to
                  11
                  12    Surcharge Collateral Pursuant to 11 U.S.C. §§ 506(c) and 552(b) [Dkt. 55]
                  13    (“Motions”) as follows:
                  14
                                                                        Factual Background
                  15
                  16                 HVI Cat Canyon, Inc. (the “debtor”) filed its chapter 11 bankruptcy petition on
                  17    July 25, 2019. It has continued to operate its assets and properties in Santa Barbara
                  18
                        County as a debtor in possession.
                  19
                  20                 The debtor and USB have largely ignored the S.B. Parties on the subject of the
                  21    cash collateral budget. Indeed, the debtor’s court-ordered Status and Pending Motion
                  22
                        Report does not even mention the S.B. Parties’ prior response to the Motions [at ECF
                  23
                  24    153], even though the S.B. Parties specifically negotiated with the debtor an extension
                  25
                  26
                  27
                                 Hagen, Treasurer-Tax Collector does not submit to the jurisdiction of this Court for
                                     1
                  28    determination of the Debtor’s tax liabilities.

                                                                                 2
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                    1   of time to file that response. The S.B. Parties were not consulted on the original budget
                    2
                        or any of the various changes in the budget made after the S.B. Parties’ response.
                    3
                    4                The S.B. Parties support this debtor having use of cash collateral for purposes

                    5   of regulatory compliance, operating under the law, and marketing of the assets on a
                    6
                        going-concern, rather than liquidation, basis. However, the debtor is failing to pay
                    7
                    8   for the ongoing regulatory costs and property taxes this debtor owes the S.B. Parties
                    9   and this cannot continue.
                  10
                                     In order to preserve and protect the environment and the debtor’s assets and
                  11
                  12    operations, the debtor must pay for all the regulatory health, safety, and environmental
                  13    oversight provided by Santa Barbara County and the Santa Barbara County Air
                  14
                        Pollution Control District (APCD). A large portion of the regulation of this oil and
                  15
                  16    gas company debtor is at the Santa Barbara County level.
                  17                 The debtor incurs numerous ongoing regulatory compliance costs in the
                  18
                        ordinary course of its business. To operate lawfully, the debtor must have and
                  19
                  20    continue to have permits from numerous departments or divisions of the County,
                  21    including, for example
                  22
                              a. the Energy & Minerals Division which has permit processing fees,
                  23
                  24          b. the System Safety & Reliability Review Committee which passes through the
                  25
                                     costs the County incurs for consultants to review the debtor’s facility safety
                  26
                                     plans, perform audits, and perform similar tasks relating to the debtor’s
                  27
                  28                 facilities,

                                                                                 3
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                    1         c. the Building & Safety Division which determines fines under the
                    2
                                     Administrative Fine Ordinance (County Code, Chapter 24A) when the debtor
                    3
                    4                does not timely abate its violations, which have been many for this debtor,

                    5         d. the Petroleum Division for permits which require additional inspections that
                    6
                                     are not included in the annual inspection cycle at the Petroleum Staff’s hourly
                    7
                    8                rate as well as Restoration Accounts for the soil remediation/restoration
                    9                activities of this debtor,
                  10
                              e. for Petroleum Ordinance (County Code, Chapter 25) violations,
                  11
                  12          f. for County Fire Department fees, inspections, and permits for inspecting
                  13                 leases, wells, pipelines, compressors, offices, buildings and facilities, and tank
                  14
                                     batteries,
                  15
                  16          g. the ongoing Planning & Development Department’s (P&D) inspections, fees,
                  17                 and ongoing regulatory issues, which, for this debtor are very significant, and
                  18
                              h. for Santa Barbara Environmental Health/CUPA, which has regulatory
                  19
                  20                 authority over the debtor’s hazardous materials.
                  21    Just as an example, the debtor was required to pay $157,812 to SB P&D in advance
                  22
                        for Annual Well & Tank fees for 2019 but failed to pay. The County has nevertheless
                  23
                  24    continued inspecting the debtor’s approximately 756 facilities, and there are about
                  25
                        500 inspections left to perform this year.
                  26
                                     In addition, the debtor must comply APCD’s inspections and regulations. This
                  27
                  28    includes permit fees for permit renewals, three-year reevaluations under Rule 201.G,

                                                                                 4
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                    1   NSR permits, and Reimbursable Staff Labor, Air Quality Planning Fees, including
                    2
                        Annual Emissions, Air Toxics, and AQAP fees, Notices of Violation Penalties. This
                    3
                    4   debtor has 41 active, unresolved NOVs with APCD alone, plus there are 50 open

                    5   NOVs with the County. Even when this debtor reaches a settlement on NOVs (see
                    6
                        examples attached as Exhibit A), it often fails to perform.
                    7
                    8                This debtor and UBS are well-aware that regulatory compliance costs are
                    9   administrative expenses that must be paid if this debtor is to continue to operate in
                  10
                        bankruptcy. Each of the many County of Santa Barbara Notices of Violation issued
                  11
                  12    to this debtor clearly informs the debtor that
                  13                 The Santa Barbara County Petroleum Code, Chapter 25, among other
                  14                 things, protects the health, safety, public welfare, physical environment
                                     and natural resources of the county by the reasonable regulation of
                  15                 onshore petroleum facilities and operations, including but not limited to:
                  16                 exploration; production; storage; processing; transportation; disposal;
                                     plugging and abandonment of wells; and of operations and equipment
                  17                 accessory and incidental thereto.
                  18
                        This debtor did include some line items in its cash collateral budgets for payment of
                  19
                  20    County and APCD regulatory costs. Perplexingly, however, even though there are

                  21    budgeted monies to be spent for regulatory compliance costs, this debtor did not pay
                  22
                        those budgeted amounts.
                  23
                  24                 Below is a table of the amounts budgeted by the debtor and court-approved

                  25    which appear2 to be payable to the County and APCD through week 8 (ending today)
                  26
                  27
                                The budget line item names do not match up to County departments, so it is
                                     2
                  28    possible that some of these line items are not for payment to the County.
                                                                                 5
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                    1   per the Interim Order on cash collateral (ECF 43) and then the two-week bridge Order
                    2
                        (ECF 182)
                    3
                                                   Wee      Week 2 Week 3 Week 4           Week 5 Week 6 Week 7        Week 8 Total
                    4                              k1       5-Aug- 12-    19-Aug-          26-    2-Sep- 9-Sep-        16-    through
                                                   29-      19     Aug-19 19               Aug-19 19     19            Sep-19 Week 8
                    5
                                                   Jul-
                    6                              19
                         Weed                               5,000    5,000    5,000        5,000    5,268    10,000    10,268    45,536
                    7    Abatement
                         Well                                        3,000    3,478        3,000    3,000    3,000     3,000     18,478
                    8    Analysis
                    9    Compliance                                  4,723    38,463                         10,000    10,000    63,186
                         (ALG)
                  10     Fire                                                 36,730                5,000    36,730              78,460
                         Department
                  11
                         EHS CUPA                           8,509                                                                8,509
                  12     APCD                               4,211    2,000    2,000        60,000   2,000    62,000    2,000     134,211
                  13     Settlement                                           29,500                                   29,500    59,000
                         Agreement
                  14
                  15
                         Total                              17,720   14,723   115,171      68,000   15,268   121,730   54,768    407,380
                  16
                  17
                  18
                        To the knowledge of the County and APCD, none of those amounts were paid, so the
                  19
                        debtor is already $407,380 in arrears 3 of what the debtor itself promised to pay for
                  20
                  21    post-petition regulatory costs to the S.B. Parties.
                  22
                                     The budgeted amounts will not cover the ongoing regulatory costs of this
                  23
                        debtor. For example, the unpaid compliance costs of this debtor with APCD for the
                  24
                  25    2019-2020 budget year are approximately $162,488 for reevaluations and $45,000 for
                  26
                  27
                  28                 3
                                         $134,211 for APCD and $273,169 for County = $407,380.
                                                                                       6
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                    1   fees (AQAP, annual emission fees, source test fees, etc.), not even counting the
                    2
                        penalty assessments for Notices of Violations. This debtor’s annual penalty
                    3
                    4   assessments with APCD alone average $91,474.20 per year over the prior five fiscal

                    5   years, but, significantly, those penalty assessments have recently been much higher
                    6
                        than the average; to-wit, $163,250 (FY 2018-19) and $160,000 (FY 2017-18) in the
                    7
                    8   immediate past two fiscal years.
                    9                Notwithstanding the foregoing, if the $407,380 total in the foregoing table is
                  10
                        all payable to the County and APCD, and if the debtor were to pay to the County and
                  11
                  12    APCD the $407,380 already budgeted and approved and then pay the same amounts
                  13    in each of the following 8-week periods of this case, then that would be satisfactory
                  14
                        for the County and APCD to continue their regulatory oversight services, though it
                  15
                  16    would not address the ongoing taxes owed, which are discussed below. If the
                  17    $407,380 is not all payable to the County and APCD, then this debtor needs to include
                  18
                        all County and APCD obligations in its budget.
                  19
                  20                 The Court needs to understand that this debtor has an entirely unacceptable
                  21    history of non-compliance. The outstanding unpaid prepetition obligations of the
                  22
                        debtor to the S.B. Parties, not including all penalties and interest, are
                  23
                  24      S.B. Party                                    Per S.B. Parties    Per Debtor’s Schedules
                          APCD                                          $1,701,344.67       $145,681.43 plus $7,867.00
                  25
                                                                                            plus “unknown” [actually it is
                  26                                                                        a $99,000 judgment entered
                                                                                            against the debtor on July 16,
                  27
                                                                                            2019 in Santa Barbara
                  28                                                                        Superior Court Case No.
                                                                                 7
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                    1                                                                      19CV01372. Copy attached as
                    2                                                                      Exhibit B]
                          SB P&D                                        $891,840.60 (as of $16,627.11 plus $703,708.05
                    3                                                   August 1, 2019)
                    4     SB Fire and EHS                               $40,126.00 plus    $1,469 plus $353 plus
                                                                        $7,992.50          $15,114.99
                    5     SB Flood Control                                                 $245
                    6     SB County Clerk                                                  $57
                          SB Franchise Fees                             $20,200.87
                    7
                          Harry E. Hagen, Treasurer-                    $4,759,786.96 (as $4,654,443.79
                    8     Tax Collector                                 of August 1, 2019)
                          Totals                                        $7,421,291.60      $5,644,566.37 plus unknown
                    9
                  10    This pattern of not paying for environmental, health, and safety regulation or any
                  11
                        County services should not be permitted to continue post-petition. These
                  12
                  13
                        $7,421,291.60 in regulatory and tax debts have built up over more than a year.

                  14    Meanwhile, in the past year alone, the Statement of Financial Affairs signed by
                  15
                        Randeep Grewal [ECF 171 at 294-296 of 316] shows that, instead of paying the S.B.
                  16
                  17    Parties, the debtor has made at least the following payments to insiders/affiliates:

                  18      Insider                                                    Payment
                  19
                          GLR, LLC                                                   $112,500
                  20
                  21      GLR, LLC                                                   Transfer of lease

                  22      GRL, LLC                                                   $330,346
                  23
                          GRL, LLC                                                   Transfer of lease
                  24
                  25      Greka Construction, LLC                                    $108,000
                  26
                          GTL1, LLC                                                  $1,808,000
                  27
                  28

                                                                                 8
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                    1     GIT, Inc.                                                  $2,292,000
                    2
                          California Asphalt Production, Inc.                        $7,176,390
                    3
                    4     Total                                                      $11,827,236 plus lease transfers
                    5
                    6                This debtor operates its oil and gas business utilizing numerous non-debtor
                    7   affiliates, such as GCL1, LLC, GTL1, LLC, GRL, LLC, Greka Construction, LLC,
                    8
                        GLR, LLC, GSR, LLC, Glnv, Inc., and California Asphalt Production, Inc. (CAP).4
                    9
                  10    Those affiliates, such as CAP, are not paying their safety and environmental costs,
                  11    their Notices of Violation, or their ad valorem taxes, either. Just as examples, CAP
                  12
                        owes $127,584.41 to APCD alone, and Greka Land Holdings, LLC, CAP, and GSR,
                  13
                  14    LLC collectively owe $628,935.87 in back property taxes.
                  15
                                     Not only are the past and ongoing regulatory costs entitled to administrative
                  16
                        expense treatment in this bankruptcy case under § 503(b), but they can become liens
                  17
                  18    against the debtor’s assets under Santa Barbara County Code § 24A-8.
                  19
                                     The stated purpose of the debtor’s use of cash collateral is for the debtor to be
                  20
                        able to have a reasonable opportunity to reorganize and to maintain the integrity of
                  21
                  22    the debtor’s assets and the debtor’s asset values. Regulatory compliance by the debtor
                  23
                        preserves and enhances the value of the debtor’s assets pledged as collateral to the
                  24
                        debtor’s lender -- UBS. This debtor has announced that it desires to sell assets and
                  25
                  26
                  27
                                     4
                                See Pereira v. Grecolas Ltd. (In re Saba Enterprises), 421 B.R. 626 (Bankr. S.D.N.Y.
                  28    2009)(opinion regarding trustee action for fraudulent transfers among some of these same affiliates).

                                                                                 9
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                    1   pay off its UBS debt. However, this debtor cannot continue to operate without funding
                    2
                        the regulatory oversight needed for safe operations. The County and APCD cannot
                    3
                    4   continue providing that regulatory oversight for free.

                    5                The County and APCD have spent many employee hours trying to work with
                    6
                        this debtor on getting its compliance costs brought up to date. Agreements have been
                    7
                    8   negotiated and entered into, only to be breached by this debtor. See, for example,
                    9   documents attached as Exhibit C and Exhibit D. The County and APCD need
                  10
                        assurances that this debtor will fund the safe operations of its facilities. Santa Barbara
                  11
                  12    County Code § 25-14 states in relevant part
                  13                 The petroleum administrator shall have the primary responsibility for
                  14                 enforcing the provisions of this chapter. In the event the petroleum
                                     administrator is unable to obtain compliance with any of the terms and
                  15                 provisions of this chapter, or of any resolution of the board of supervisors
                  16                 adopted pursuant thereto, he/she may order immediate cessation of
                                     operations.
                  17
                  18    The County’s preference is that the debtor voluntarily come into compliance, but it is
                  19    not clear the debtor shares that intent.
                  20
                                     Use of cash collateral to pay for regulatory compliance costs preserves and
                  21
                  22    enhances the value of UBS’s collateral. There is no escaping the taxes and regulatory
                  23    costs. If the automatic stay were lifted for UBS to foreclose on its collateral, then that
                  24
                        collateral would still be subject to the superior tax liens and UBS would be incurring
                  25
                  26    all of the regulatory costs that the S.B. Parties are requesting be included in the budget.
                  27
                        For these reasons, it is appropriate to surcharge UBS’s collateral with these costs.
                  28

                                                                                 10
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                    1                This debtor has not been paying its ad valorem taxes. As shown from its
                    2
                        schedules, the debtor was in arrears on ad valorem taxes owed to Harry E. Hagen,
                    3
                    4   Treasurer-Tax Collector of the County of Santa Barbara in the amount of

                    5   $4,654,443.79 on the petition date. The actual total per the Treasurer-Tax Collector
                    6
                        is $4,759,786.96 as of August 1, 2019.
                    7
                    8                Additionally, as of January 1, 2019, the debtor incurred the 2019 taxes as a lien
                    9   on the debtor’s property. Those 2019 taxes are in the approximate amount of
                  10
                        $696,556.64, which has not yet been billed. The debtor’s budgets do not contain any
                  11
                  12    line items for payment of any of these taxes. [ECF 43 and ECF 182]. To pay down
                  13    the debtor’s current and back taxes over a lengthy 52-week period, the debtor would
                  14
                        have to budget and pay $104,929.68 every week ($4,759,786.96 + $696,556.64 =
                  15
                  16    $5,456,343.60 ÷ 52 = $104,929.68). The debtor has been treating itself as a tax-free
                  17    business at the expense of the taxpayers of Santa Barbara County.
                  18
                                     The debtor asserts that it owes the County $1,303,358.37 for what the debtor
                  19
                  20    calls “secured claim” taxes and $3,351,085.42 for “unsecured claim” taxes, for a total
                  21    of $4,654,443.79. [ECF 1 at 6, 15]. As discussed below, the debtor is wrong. The
                  22
                        County has priority lien status afforded to property assessed on the secured roll for
                  23
                  24    nearly all of these taxes.
                  25
                  26
                  27
                  28

                                                                                 11
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                    1                                               Arguments and Authorities
                    2
                                     Santa Barbara County is a political subdivision of the State of California which
                    3
                    4   possesses the authority to assess and collect ad valorem taxes on real and personal

                    5   property. Cal. Rev. & Tax. Code § 121. A debtor in possession must pay its ad
                    6
                        valorem taxes. In re Gifaldi, 207 B.R. 54, 56 (Bankr. W.D.N.Y. 1997); In re United
                    7
                    8   Refuse LLC, 2007 Bankr. LEXIS 1974 *86-87 (Bankr. E.D. Va. 2007)(“Taxing
                    9   authorities are no different than any other administrative expense creditor whose
                  10
                        claim is incurred in the ordinary course of the debtor’s business, except that they are
                  11
                  12    not optional. They arise simply because the debtor is operating its business. They have
                  13    always been treated as administrative expenses to be paid in the ordinary course of
                  14
                        business.”); Schechter v. Dept. of Revenue (In re Markos Gurnee P’ship), 182 B.R.
                  15
                  16    211, 227 (Bankr. N.D. Ill. 1995)(“taxes incurred by the estate are an administrative
                  17    expense”).
                  18
                                     Such taxes are a proper expense of administration. Indeed, the debtors
                  19                 were obliged to pay the real estate taxes as they became due and owing.
                  20                 Section 959(b) of Title 28 mandates that a debtor-in-possession ‘manage
                                     and operate the property in his possession … according to the
                  21                 requirements of the valid laws of the State in which such property is
                  22                 situated.’ Having assumed the role of trustee, the debtors held the status
                                     of agents conducting business under authority of a United States Court.
                  23                 Under the provisions of 28 U.S.C. § 960, the Gifaldis were, therefore,
                  24                 ‘subject to all Federal, State and local taxes applicable to such business
                                     to the same extent as if it were conducted by an individual or
                  25
                                     corporation.’
                  26
                        In re Gifaldi, supra. In Gifaldi, a lender had a prior lien on the debtor’s real estate.
                  27
                  28    Id. at 55. The cash collateral order provided that the debtor could only pay normal

                                                                                 12
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                    1   and usual expenses and any payments above $1,000 had to first be approved by the
                    2
                        lender. Id. Without the consent of the lender, the debtor used cash collateral to pay
                    3
                    4   $212,683.26 on account of post-petition real estate taxes. Id. at 56. The lender was

                    5   under-secured and was entitled to adequate protection in the monies paid to the taxing
                    6
                        authorities. Id. at 56. However, the court held
                    7
                    8                Lennar correctly notes that it was entitled to receive adequate protection
                                     of its interest in the mortgage. The issue is whether that adequate
                    9                protection should extend to payments that the taxing authorities have
                  10                 received. As to this question, Lennar urges reliance on 11 U.S.C. §
                                     361(3), which states that adequate protection includes such other relief
                  11                 ‘as will result in the realization of the indubitable equivalent of such
                  12                 entity’s interest in such property.’ The difficulty with Lennar's argument
                                     is that a reallocation of payments would assure not an indubitable
                  13                 equivalent, but a position of superior value. Notwithstanding the failure
                  14                 of the cash collateral order to authorize payment of post-petition [*57]
                                     taxes, such obligations are properly chargeable to the secured creditor
                  15                 pursuant to section 506(c) of the Bankruptcy Code. It provides that ‘the
                  16                 trustee may recover from property securing an allowed secured claim the
                                     reasonable, necessary costs and expenses of preserving … such property
                  17                 to the extent of any benefit to the holder of such claim.’ Even when post-
                  18                 petition taxes do not give rise to a real estate lien, they do represent a
                                     reasonable and necessary expense for that property. Real property taxes
                  19                 are presumed to constitute payment for benefits rendered to the real
                  20                 estate. Otherwise, they would create administrative liabilities that would
                                     survive the disposition of the property. Because these taxes are properly
                  21                 chargeable to the mortgagee under section 506(c), Lennar's interest is
                  22                 subject to that potential claim. A reallocation of tax payments seeks,
                                     therefore, to give Lennar something greater than the indubitable
                  23                 equivalent of an interest that would be subject to payment of post-
                  24                 petition taxes.
                  25
                        Id. at 56-57; see also Harold & Williams Dev. Co. v. Crestar Bank (In re Harold &
                  26
                        Williams Dev. Co.), 163 B.R. 77, 80-81 (Bankr. E.D. Va. 1994)(despite free and clear
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                  28    terms of 363 sale, bank ordered to disgorge proceeds of sale to pay city taxes). Thus,

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                    1   the debtor must pay its ad valorem taxes, whether or not they are in the budget as they
                    2
                        should be, and the debtor has the right to surcharge UBS’s collateral for such tax
                    3
                    4   payments. See Equibank, N.A. v. Wheeling-Pittsburgh Steel Corp., 884 F.2d 80, 86

                    5   (3rd Cir. 1989)(taxes must be paid as administrative expenses and may also be paid as
                    6
                        a surcharge under 506(c)). There is no basis for not including the County taxes in the
                    7
                    8   cash collateral order budget and requiring that they be paid.

                    9                The debtor, and perhaps UBS also, is also under the mistaken belief that some
                  10
                        of the ad valorem taxes owed to the County are “unsecured.” They are not. All but
                  11
                  12    $18,155.90 of the $4,759,786.96 taxes for prior years were assessed on the “secured
                  13    roll.” A portion of these secured taxes were moved to the “unsecured roll” solely in
                  14
                        order to initiate collection against HVI Cat Canyon, Inc. as opposed to foreclosing the
                  15
                  16    lien against the property itself at that time. In no way did this eliminate the County’s
                  17    tax lien against the debtor’s property. Barer v. County of Riverside, (1997) 57 Cal.
                  18
                        App. 4th 558 [67 Cal. Rptr. 2d 241], pet. review denied, 1997 Cal. LEXIS 8292 (Cal.
                  19
                  20    1997). In Barer, as in this case, taxes were assessed on the secured roll then, after the
                  21    taxes became delinquent, they were transferred to the unsecured roll for collection.
                  22
                        Id. at 561. Quoting from California Revenue and Tax Code § 107, the court stated
                  23
                  24                 Leasehold estates for the production of gas, petroleum and other
                                     hydrocarbon substances… are sufficient security for the taxes levied
                  25
                                     thereon. These estates and rights shall not be classified as possessory
                  26                 interests, but shall be placed on the secured roll. If the tax on any
                                     possessory interest or leasehold estate for the production of gas,
                  27
                                     petroleum and other hydrocarbon substances is unpaid when any
                  28                 installment of secured taxes becomes delinquent, the tax collector may

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                    1                use those collection procedures which are available for collection of
                    2                assessments on the unsecured roll. [P] If the tax on any possessory
                                     interest or leasehold estate for the production of gas, petroleum and other
                    3                hydrocarbon substances remains unpaid at the time set for the declaration
                    4                of default for taxes carried on the secured roll, the possessory interest tax
                                     together with any penalty and costs which may be accrued thereon while
                    5                on the secured roll shall be transferred to the unsecured roll.
                    6
                        Id. at n.2. Transferring the delinquent taxes to the unsecured roll is not a transfer of
                    7
                    8   the assessment of those taxes. See id. at 561.

                    9                In Barer, a bank foreclosed on the property after the delinquent taxes were
                  10
                        moved to the unsecured roll for collection, and then the buyer from the foreclosure
                  11
                  12    sold to another buyer with no knowledge of any prior tax lien. Id. at 562. There were
                  13    no exceptions in the title commitment or policy “because the title company believed
                  14
                        (mistakenly) that the liens had been eliminated by the foreclosure sale.” Id. The buyer
                  15
                  16    filed an action for declaratory judgment that the property was free and clear of any
                  17    tax liens asserting that “when he purchased the property, such purported tax liens were
                  18
                        not shown on the secured rolls where real property taxes were shown and therefore
                  19
                  20    he was a bona fide purchaser for value.” Id. at 562-63. The County and the buyer
                  21    filed cross motions for summary judgment. The trial court entered judgment for the
                  22
                        County on the basis that (a) § 107 forced the County to transfer secured delinquent
                  23
                  24    taxes to the unsecured roll for collection, (b) “Barer had an obligation to search the
                  25
                        prior years’ secured and unsecured rolls to determine what, if any, delinquent taxes
                  26
                        were due against the subject property,” (c) the “tax liens have priority over all other
                  27
                  28    liens regardless of the time of their creation,” (d) “although Barer did not have actual

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                    1   notice of the delinquent taxes at the time he [Barer] purchased the subject property,
                    2
                        he [Barer] was on constructive notice of the delinquencies based upon his obligation
                    3
                    4   to conduct such a search of the secured and unsecured rolls,” (e) “although the

                    5   delinquent taxes did not show on the current secured roll for 1994 when Barer
                    6
                        purchased the property, it was Barer’s obligation as a matter of law to search prior
                    7
                    8   years’ secured and unsecured rolls for real property tax delinquencies,” and (f) “as a
                    9   matter of law, the non-judicial foreclosure sale conducted under the First Fidelity
                  10
                        Deed of Trust did not eliminate or wipe out the 1991-92 and 1992-93 delinquent real
                  11
                  12    property tax liens on the subject property.” Id. at 565-66.
                  13                 The court of appeals affirmed the Barer trial court’s decision on all grounds.
                  14
                        Id. at 573. Barer argued that it is extremely difficult for the general public to search
                  15
                  16    both the secured and unsecured tax rolls, but the court pointed out that the lender had
                  17    the capacity to do that and, regardless of difficulty, “plaintiff’s contention that he
                  18
                        should not be required to search such indexes is without merit.” Id. at 573. “Generally
                  19
                  20    the Legislature is supreme in the field of taxation.” Id. at 571. The court noted that
                  21    “section 2192.1 provides that ‘[e]very tax declared in this chapter to be a lien on real
                  22
                        property … has priority over all other liens on the property, regardless of the time of
                  23
                  24    their creation.’” Id. at 566 (emphasis in original). The procedure for assessing taxes
                  25
                        on oil and gas interests as secured property taxes are separable from the proceedings
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                        for collecting the taxes. Id. at 570, citing Picchi v. Montgomery (1968) 261 Cal. App.
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                  28    2d 246, 253 [67 Cal. Rptr. 880].

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                    1                The $4,759,786.96 of unpaid prepetition ad valorem taxes will have to be paid
                    2
                        along with the 2019 taxes of approximately $696,556.64 and future taxes. Indeed, the
                    3
                    4   post-petition taxes of this debtor constitute both secured claims as well as

                    5   administrative priority claims. In re Soltan, 234 B.R. 260, 272-73 (Bankr E.D.N.Y.
                    6
                        1999). To amortize the prepetition taxes of $4,759,786.96 over a six-month (26-week)
                    7
                    8   period, and not including penalties and interest, would require payments of
                    9   $183,068.72 per week. To pay the 2019 post-petition taxes of $628,935.87 over a
                  10
                        six-month (26-week) period, and not including penalties and interest, would require
                  11
                  12    payments of $24,189.84 per week. But nothing is in the budget for payment of any
                  13    taxes, pre- or post-petition.
                  14
                                     Payment of taxes is an ordinary part of a debtor in possession’s business and
                  15
                  16    requires no notice or court approval. 11 U.S.C. § 363(c)(1). The failure to pay taxes
                  17    is a basis for conversion to chapter 7. 11 U.S.C. § 1112(b)(4)(I); In re Builders Group
                  18
                        & Dev. Corp., 2014 WL 1873412, 2014 Bankr. LEXIS 2092 *22 (Bankr. D. P.R.
                  19
                  20    2014).
                  21                 Harry E. Hagen, Treasurer-Tax Collector does not consent, under 11 U.S.C.
                  22
                        363(c)(2)(A) or otherwise, to any interim or final cash collateral orders that do not
                  23
                  24    provide for the payment of the taxes owed to the County. The past, current, and future
                  25
                        taxes owed to the County are liens which cannot be avoided or delayed by the debtor’s
                  26
                        bankruptcy. 11 U.S.C. § 362(b)(18), § 503(b), § 546(b), and § 547(c)(6). The cash
                  27
                  28    collateral orders should provide for the payment of the taxes and make clear that the

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                    1   taxes are a first lien on the debtor’s property in Santa Barbara County under Cal. Rev.
                    2
                        & Tax. Code § 2192.1 and that this will continue for future years’ taxes. If UBS were
                    3
                    4   entitled to any adequate protection lien, which is disputed because UBS is over-

                    5   secured, UBS would not be entitled to any adequate protection lien that would put
                    6
                        UBS ahead of the County.
                    7
                    8                Trustees and debtors in possession must, of course, comply with all laws and
                    9   regulations as they operate, whether in chapter 11 or chapter 7. See 28 U.S.C. §§ 959,
                  10
                        960. Oil and gas operators who operate as debtors in possession must comply with
                  11
                  12    the laws and regulations governing their operations. Texas v. Lowe (In re H.L.S.
                  13    Energy Co.), 151 F.3d 434 (5th Cir. 1998)(plugging and abandonment obligations
                  14
                        owed to state agency were administrative expenses of the estate); Munce’s Superior
                  15
                  16    Petroleum Prods. v. N.H. Dep’t of Envtl. Services (In re Munce’s Superior Petr.
                  17    Prods), 736 F.3d 567, 571-73 (1st Cir. 2013)(post-petition state agency fines of $1,000
                  18
                        per day against debtor for non-compliance with environmental law which began
                  19
                  20    prepetition but continued post-petition were given administrative expense treatment);
                  21    In re Am. Coastal Energy, Inc., 399 B.R. 805, 816 (Bankr. S.D. Tex. 2009)(awarding
                  22
                        administrative expense treatment of state agency costs against oil and gas debtor and
                  23
                  24    stating “[a] debtor cannot operate an estate in violation of environmental and safety
                  25
                        laws.”). Compliance with regulations is considered a benefit to the estate for purposes
                  26
                        of 11 U.S.C. § 503(b) even if compliance means the cost of plugging old oil wells for
                  27
                  28    environmental reasons. Texas v. Lowe at 436-439. Not paying sales taxes and thereby

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                    1   subjecting the debtor to interest charges by the taxing authority results in the interest
                    2
                        charges being treated as administrative expenses. Id. at 438.
                    3
                    4                Even if the automatic stay were lifted for UBS to foreclose on the debtor’s

                    5   properties, UBS would be incurring all of the regulatory costs and taxes that should
                    6
                        be paid under the cash collateral orders and budgets.
                    7
                    8                The debtor cannot avoid the prepetition unpaid regulatory oversight costs. For
                    9   example, California Government Code § 54988 provides governmental units such as
                  10
                        Santa Barbara County with the right to make unpaid regulatory costs a lien against
                  11
                  12    the debtor’s property which “may be collected at the same time and in the same
                  13    manner as property taxes are collected.” As set forth above, this debtor owes at least
                  14
                        $2,661,504.64 ($7,421,291.60 - $4,759,786.96 = $2,661,504.64)5 in prepetition
                  15
                  16    regulatory costs, in addition to this debtor’s unpaid property taxes.
                  17                 The S.B. Parties do not support the granting of any lien on estate avoidance
                  18
                        actions. Those actions must be preserved for unsecured creditors. See In re Ludford
                  19
                  20    Fruit Products, Inc., 99 B.R. 18, 25 (Bankr. C.D. Cal. 1989)(giving prepetition
                  21    secured creditor a lien on avoidance actions would violate logic and the policy behind
                  22
                        the avoidance powers); In re Kooh, LLC, 2010 Bankr LEXIS 5992 *9-10 (Bankr.
                  23
                  24    N.D. Tex. 2010)(cash collateral order excepted chapter 5 causes of action from
                  25
                  26
                  27           Per table in the Facts section. In the same table, the debtor’s incorrect number is
                                     5
                        $990,122.58 in prepetition regulatory costs owed ($5,644,566.37 - $4,654,443.79 =
                  28    $990,122.58)
                                                                                 19
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                    1   replacement lien and made replacement liens inferior to the liens of ad valorem taxing
                    2
                        authorities).
                    3
                    4                                                        Conclusion

                    5                The budgets that the debtor and UBS attached to the interim [ECF 43] and
                    6
                        bridge [ECF 182] cash collateral orders are fatally flawed in that they do not authorize
                    7
                    8   the debtor to pay its property taxes. The budgets do appear to provide for regulatory
                    9   oversight costs to the County and APCD; however, the debtor has refused to make
                  10
                        the payments. The taxes and regulatory costs must be included in the budget and paid
                  11
                  12    or this case will need to be converted and the regulators will need to order cessation
                  13    of all operations in the County. The S.B. Parties seek such other relief to which they
                  14
                        are entitled.
                  15
                  16    Dated: September 19, 2019                              SNOW SPENCE GREEN LLP
                  17                                                           By:    /s/ Ross Spence
                  18                                                                  Ross Spence
                                                                                      Pro Hac Vice Pending
                  19
                  20
                                                                               Attorneys for the County of Santa Barbara,
                  21                                                           California; Harry E. Hagen, as Treasurer-
                  22                                                           Tax Collector of the County of Santa
                                                                               Barbara, California; and Santa Barbara Air
                  23                                                           Pollution Control District
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